     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 1 of 23 Page ID #:1




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12
                       UNITED STATES DISTRICT COURT
13
                      CENTRAL DISTRICT OF CALIFORNIA
14

15    JANE DOE 2 and JANE DOE 3,      )      CASE NO.: 5:19-cv-612
                                      )
16                                    )
            Plaintiffs,               )      COMPLAINT FOR DAMAGES
17
                                      )
18                                    )      1. Violations of Civil Rights
            vs.                       )
                                      )         [42 U.S.C. § 1983]
19
                                      )         (Based on Sexual Battery)
20
      OFFICER S. MERRILL, OFFICER J. )       2. Violations of Civil Rights
      SPINNEY, and DOES 1 through 10, )
      Inclusive,                                [42 U.S.C. § 1983]
21                                    )
                                      )         (Based on Supervisory Liability)
22          Defendants.               )      3. Violations of Civil Rights
                                      )         [42 U.S.C. § 1983] (Based on
23                                    )         Conditions of Confinement)
                                      )
24                                    )      4. Violations of Civil Rights
                                      )         [42 U.S.C. § 1983] (Based on
25                                    )         Failure to Protect)
26
                                      )
                                      )
      _______________________________ )      Demand for Jury Trial
27

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                    JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 2 of 23 Page ID #:2




 1          1.    This Complaint concerns the abuse of power by Defendant,
 2    Correctional OFFICER S. MERRILL, and specifically, MERRILL’S policy and
 3    practice that required women in custody, including Plaintiffs JANE DOE 2 and
 4    JANE DOE 3, to perform sexual favors for him with the knowledge and consent of
 5    Defendant, Correctional OFFICER J. SPINNEY and DOES 2-10.
 6                             JURISDICTION AND VENUE
 7          2.    Jurisdiction is vested in this court under 28 U.S.C. § 1343(3)-(4) for
 8    violations of the 1871 Civil Rights Enforcement Act, as amended, including 42
 9    U.S.C. § 1983 and 28 U.S.C. § 1331.
10          3.    Venue is proper in the Central District of California under 28 U.S.C.
11    § 1391(a)-(b).
12                                        PARTIES
13          4.    At all relevant times mentioned herein, Plaintiffs JANE DOE 2 and
14    JANE DOE 3 were and are, incarcerated in the California Institute for Women
15    (hereinafter “CIW”), located at 16756 Chino Corona Road, in the city of Chino, in
16    the County of San Bernardino and in the State of California.
17          5.    Plaintiffs are informed and believe that at all times relevant herein,
18    Defendant Correctional OFFICER S. MERRILL (“OFFICER MERRILL”) was
19    employed by California Department of Corrections and Rehabilitation (“CDCR”)
20    in the position of Correctional Officer and stationed at the CIW. During all times
21    mentioned herein, OFFICER MERRILL was acting under color and pretense of
22    law, and under color of the statutes, ordinances, regulations, policies, practices,
23    customs, and usages of the CDCR, and was acting within the course and scope of
24    his employment with the CDCR.
25          6.    Plaintiffs are informed and believe that at all times relevant herein,
26    Defendant Correctional OFFICER J. SPINNEY (“OFFICER SPINNEY”) was
27    employed by California Department of Corrections and Rehabilitation (“CDCR”)
28    in the position of Correctional Officer and stationed at the CIW. During all times
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 3 of 23 Page ID #:3




 1    mentioned herein, OFFICER SPINNEY was acting under color and pretense of
 2    law, and under color of the statutes, ordinances, regulations, policies, practices,
 3    customs, and usages of the CDCR, and was acting within the course and scope of
 4    his employment with the CDCR.
 5          7.      Plaintiff is informed, believes, and thereupon alleges that the
 6    CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
 7    (hereinafter “CDCR”) is, and at all relevant times herein was, a state agency or
 8    political subdivision organized and existing under the laws of the State of
 9    California.
10          8.      Plaintiffs are unaware of the true names and capacities of those
11    Defendants sued herein as DOES 1 through 10, inclusive, and therefore sues these
12    Defendants using fictitious names. Plaintiffs will amend this complaint to allege
13    the DOES’ true names and capacities when that information becomes known.
14    Plaintiffs are informed and believe and on that basis allege that each of these
15    fictitiously named Defendants are legally responsible in some manner for the
16    actions and inactions alleged herein and that the injuries suffered by Plaintiffs as
17    alleged throughout this complaint were proximately caused by these actions and
18    inactions. Plaintiffs further allege, based upon information and belief, that each
19    Defendant sued herein was acting as the agent or employee of each of the other
20    Defendants, and in doing the acts alleged herein was acting within the course and
21    scope of such agency and/or employment, and/or aided, abetted, cooperated with,
22    and/or conspired with one another to do the acts alleged herein.
23          9.      At all relevant times mentioned herein Defendant DOES 1 through 10,
24    inclusive, were residents of San Bernardino County and/or business or corporate
25    entities incorporated in and/or doing business in the State of California by virtue of
26    the laws of the State of California.
27          10.     Each Defendant is the agent, servant and/or employee of the other
28    Defendants and each Defendant was acting within the course and scope of his, her,
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 4 of 23 Page ID #:4




 1    or its authority as an agent, servant, and/or employee of the other Defendants.
 2    Defendants, and each of them, are individuals, corporations, partnerships, and other
 3    entities which engaged in, joined in, and conspired with the other wrongdoers in
 4    carrying out the tortious and unlawful activities described in this complaint, and
 5    Defendants, and each of them, ratified the acts of the other Defendants as described
 6    in this Complaint.
 7          11.    Each of the individual Defendants sued herein is sued both in their
 8    individual and personal capacity as well as in their official capacity.
 9

10                 FACTS COMMON TO ALL CAUSES OF ACTION
11          12.    This Complaint concerns the sexual assault, battery, abuse and
12    harassment of Plaintiffs JANE DOE 2 and JANE DOE 3 in or around October or
13    November 2017 by Defendant OFFICER MERRILL, without penological
14    justification, at the California Institute for Women (“CIW”), located at or 16756
15    Chino Corona Road, in the city of Chino, in the County of San Bernardino and in
16    the State of California.
17          13.    At all times referenced herein, JANE DOE 2 and JANE DOE 3 were
18    within the custody, care, supervision, and control of, California Department of
19    Corrections and Rehabilitation (“CDCR”), OFFICER MERRILL (“OFFICER
20    MERRILL”), OFFICER J. SPINNEY (“OFFICER SPINNEY”) and other
21    heretofore unknown Officers employed by CDCR and/or CIW designated herein
22    as DOES 1-10.
23          14.    At all times referenced herein, while at CIW, JANE DOE 2 and JANE
24    DOE 3 were wearing department issued clothing indicating their status as
25    prisoners. JANE DOE 2 and JANE DOE 3 were physically restrained to CIW.
26          15.    Throughout the acts and omissions described herein, OFFICER
27    MERRILL was wearing his department issued uniform, with badge and
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                      JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 5 of 23 Page ID #:5




 1    identification plate plainly visible, and was armed with his department issued
 2    pepper spray, baton, handcuffs, flashlight and police radio.
 3          16.    Throughout the acts and omissions described herein, OFFICER
 4    SPINNEY was wearing his department issued uniform, with badge and
 5    identification plate plainly visible, and was armed with his department issued
 6    pepper spray, baton, handcuffs, flashlight and police radio.
 7          17.    During the acts and omissions alleged herein, OFFICER MERRILL
 8    was on duty during the night shift which started at approximately nine (9:00) or ten
 9    (10:00) p.m. and ended at approximately five (5:00) or six (6:00) a.m.
10          18.    During the time periods alleged herein, the individual doors to the
11    CIW inmates’ cells were locked by eight (8:00) p.m. and could only be opened with
12    a key or by pressing a code in the office. Plaintiffs are informed and believe that,
13    pursuant to CDCR rules and regulations, correctional officers were not allowed to
14    unlock cell doors without a sergeant present.
15                    Sexual Harassment and Assault of JANE DOE 2
16          19.    In or around August or September 2017, JANE DOE 2 had a single
17    cell. Defendant OFFICER MERRILL was working the night shift and would come
18    to her cell approximately twice per week at or around three (3:00) a.m. or four
19    (4:00) a.m. and unlock her cell door without a sergeant present.
20          20.    OFFICER MERRILL began grooming JANE DOE 2 at first being
21    nice to her, bringing her food, and telling her how beautiful she was. However, at
22    some point, shortly thereafter, in or around August or September 2017 he changed.
23    OFFICER MERRILL started grabbing his penis inside his pants when he saw
24    JANE DOE 2.
25          21.    JANE DOE 2 began hiding under her covers and pretending she was
26    asleep when OFFICER MERRILL came around her cell. But it did not help.
27    OFFICER MERRILL kept coming by and sexually harassing JANE DOE 2 against
28    her will and without her consent. OFFICER MERRILL would flash the light from
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                      JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 6 of 23 Page ID #:6




 1    his flashlight onto JANE DOE until she moved and then he would open her cell
 2    door, without a sergeant present, and harass her.
 3          22.    During the same time period, OFFICER MERRILL came to JANE
 4    DOE 2’s cell and told her to take off her shirt, JANE DOE 2 objected, but
 5    OFFICER MERRILL told her that she “better” be in the shirt that he liked when
 6    he returned. Frightened and humiliated, JANE DOE 2 changed her shirt.
 7          23.    On another occasion during the same time period OFFICER
 8    MERRILL commanded JANE DOE 2 to touch his penis. Terrified that he would
 9    retaliate against her or harm her in some way, JANE DOE 2 complied and was
10    forced to touch OFFICER MERRILL’S penis on the outside of his pants. By
11    forcing her to touch his penis, OFFICER MERRILL sexually assaulted, battered,
12    abused and harassed JANE DOE 2 against her will and without her true consent.
13          24.    At some point thereafter, due to the sexual assault and constant sexual
14    harassment by OFFICER MERRILL and her fear of retaliation if she were to report,
15    JANE DOE 2 over-dosed on medication with the understanding that she would be
16    moved to ‘suicide-watch’ and away from OFFICER MERRILL.
17          25.    At some point after she was removed from suicide watch, JANE DOE
18    2 was placed in a cell with cellmate JANE DOE 3.
19          26.    Subsequently, in or around October 2017, JANE DOE 2 was
20    approached by officers from the Investigative Services Unit (“ISU”) and
21    questioned about the conduct of another correctional officer within CIW. At that
22    time, JANE DOE 2 informed officers about some of the sexually abusive and
23    harassing behavior by OFFICER MERRILL.
24          27.    After her disclosure about OFFICER MERRILL, officers from ISU
25    and Internal Affairs (“IA”) including, but not limited to, OFFICER SPINNEY
26    questioned JANE DOE 2 about OFFICER MERRILL and, OFFICER SPINNEY,
27    and others whose names are currently unknown told JANE DOE 2 that she had to
28    be part of a “set-up” to catch OFFICER MERRILL in the act. On information and
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                      JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 7 of 23 Page ID #:7




 1    belief officers from ISU and IA including, but not limited to, OFFICER SPINNEY,
 2    knew that OFFICER MERRILL was sexually harassing and sexually assaulting
 3    female inmates of CIW. JANE DOE 2 was terrified, but the ISU and IA officers
 4    including, but not limited to Spinney, assured her that they only wanted to catch
 5    OFFICER MERRILL going inside of her cell and that nothing would happen to
 6    her. The ISU and IA officers including, but not limited to Spinney, additionally
 7    assured JANE DOE 2 that they would place both a camera in the room and an audio
 8    recorder and if she felt threatened, all she had to say was a code phrase: “can we
 9    get some pizza” and ISU and/or IA would rush in and stop OFFICER MERRILL.
10                        The Sexual Harassment of JANE DOE 3
11          28.    In or around, October or November 2017, JANE DOE 3 recalls
12    meeting OFFICER MERRILL for the first time when he came to the cell she shared
13    with JANE DOE 2. OFFICER MERRILL dropped off food and said both women
14    were “beautiful” and should be on the “cover of a magazine.” OFFICER MERRILL
15    then began touching himself and stated that he was “hard.”
16          29.    Based on the encounter, and sexual harassment, and the prior sexual
17    assault, battery, abuse and harassment experienced by JANE DOE 2, both plaintiffs
18    were scared to go to sleep that night. JANE DOE 2 and JANE DOE 3 began
19    sleeping in the same bed thereafter because they both felt safer that way.
20                 The Sexual Assault of JANE DOE 2 and JANE DOE 3
21                            while ISU and IA Were Watching
22          30.    At some point in October or November 2017, unbeknownst to JANE
23    DOE 3, ISU and IA including, but not limited to, OFFICER SPINNEY, had worked
24    with JANE DOE 2 to plant a camera and an audio recording device in their cell.
25    ISU and IA including, but not limited to, OFFICER SPINNEY, told JANE DOE 2
26    to flirt with OFFICER MERRILL so that they could catch him violating policy.
27          31.    That night, OFFICER MERRILL came to the cell approximately two
28    to three times. The first time, he came in and closed the door and sexually harassed
                                               7
                      JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 8 of 23 Page ID #:8




 1    plaintiffs calling them “beautiful” amongst other things. At this point, JANE DOE
 2    2 thought that he would be caught by ISU and IA including, but not limited to,
 3    OFFICER SPINNEY, because on information and belief unlocking and entering
 4    an inmate’s cell without a sergeant was a violation of CDCR and/or CIW rules.
 5    Yet, no one from ISU or IA including, but not limited to, OFFICER SPINNEY,
 6    came.
 7            32.   Because she was told by ISU and IA including, but not limited to,
 8    OFFICER SPINNEY, to flirt with OFFICER MERRILL, JANE DOE 2 told JANE
 9    DOE 3 that they should flirt with OFFICER MERRILL to see what happens. JANE
10    DOE 2 went along with this.
11            33.   Subsequently OFFICER MERRILL came back to the cell. OFFICER
12    MERRILL grabbed JANE DOE 3, pulled her to him, put his hand in her shorts and
13    digitally penetrated her vagina against her will and without her consent. During this
14    encounter, JANE DOE 2 stated the code phrase “can we get some pizza.” No one
15    from ISU or IA including, but not limited to, OFFICER SPINNEY, came to the
16    cell and stopped this sexual assault of JANE DOE 3 even though they knew it was
17    occurring.
18            34.   During the same visit, OFFICER MERRILL grabbed JANE DOE 2
19    and attempted to push her face down onto his naked penis. OFFICER MERRILL
20    also digitally penetrated JANE DOE 2’s vagina against her will and without her
21    consent. JANE DOE 2 against stated the code phrase “can we get some pizza.” Yet,
22    once again, neither ISU nor IA including, but not limited to, OFFICER SPINNEY,
23    stopped the sexual assault of JANE DOE 2 even though they knew that it was
24    occurring at the time that it occurred.
25            35.   Only after both women were sexually assaulted, and digitally
26    penetrated, against their will and without their consent, did ISU and IA come to the
27    room, place plastic bags over both of OFFICER MERRILL’S hands, and remove
28    him.
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 9 of 23 Page ID #:9




 1          36.    JANE DOE 2 was taken to a local hospital for a rape kit. JANE DOE
 2    3 terrified, and not knowing what would happen to her, declined the rape kit.
 3          37.    JANE DOE 2 sought mental health treatment due to the
 4    aforementioned incidents, but did not feel comfortable speaking about the
 5    aforementioned conduct of OFFICER MERRILL because, on information and
 6    belief, the mental health professional was employed by CDCR and/or CIW and
 7    when she did discuss OFFICER MERRILL’s conduct, the mental health
 8    professional stopped the conversation.
 9          38.    JANE DOE 3 also sought mental health treatment due to the
10    aforementioned incidents and has been diagnosed with mixed anxiety and
11    depressive disorders and generalized anxiety.
12                                        DAMAGES
13          39.    As a direct and proximate result of all Defendants’ conduct as set forth
14    herein, JANE DOE 2 and JANE DOE 3 were wrongfully and severely sexually
15    assaulted, battered, abused and harassed and sustained serious and permanent
16    injuries which were exclusively caused by the above-described actions and
17    omissions of the individual Defendants, and other agents and employees of the
18    CDCR.
19          40.    As a further direct and proximate cause of the sexual assault, battery,
20    abuse, harassment and civil rights violations of JANE DOE 2 by OFFICER
21    MERRILL, OFFICER SPINNEY and DOES 1-10, JANE DOE 2 has suffered, and
22    continues to suffer, great mental and physical pain, suffering, anguish, fright,
23    nervousness, anxiety, grief, shock, humiliation, indignity, embarrassment, anger,
24    lack of motivation, rage, self-degradation, shame, disgust, isolation, trouble
25    sleeping, fear at night, panic at night and/or when the light is flashed on her and/or
26    when cell doors open or close ,and apprehension, all to her damage in a sum to be
27    determined at trial.
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 10 of 23 Page ID #:10




 1           41.    As a further direct and proximate cause of the sexual assault, battery,
 2     abuse, harassment and Civil Rights Violations of JANE DOE 3 by OFFICER
 3     MERRILL, OFFICER SPINNEY and DOES 1-10, JANE DOE 3 has suffered, and
 4     continues to suffer, great mental and physical pain, suffering, anguish, fright,
 5     nervousness, anxiety, grief, shock, humiliation, indignity, embarrassment, anger,
 6     lack of motivation, rage, self-degradation, shame, disgust, inability to articulate
 7     feelings, trouble sleeping, fear at night, desire to hide at night, feelings of disgust
 8     toward men, extreme sadness, mixed anxiety and depressive disorder, and
 9     apprehension, all to her damage in a sum to be determined at trial.
10                         FOR THE FIRST CAUSE OF ACTION
11                   (By PLAINTIFFS JANE DOE 2 AND JANE DOE 3
12              Against DEFENDANTS, OFFICER MERRILL and DOE 1,
13                    For Violations of Civil Rights [42 U.S.C. § 1983])
14                                 (Based on Sexual Battery)
15           42.    Plaintiffs JANE DOE 2 and JANE DOE 3 hereby restate and
16     incorporate by reference the foregoing paragraphs of this complaint as if set forth
17     in full at this point and each and every part thereof with the same force and effect
18     as though set out at length herein.
19           43.    This cause of action is to redress the deprivation, under color of
20     statute, ordinance, regulation, policy, custom, practice or usage of rights,
21     privileges, and immunities secured to JANE DOE 2 and JANE DOE 3 by the
22     Eighth Amendment to the United States Constitution.
23           44.    At all times mentioned herein, Defendant OFFICER MERRILL was
24     employed by the California Department of Corrections and Rehabilitation
25     (“CDCR”) in the position of Correctional Officer and stationed at the California
26     Institute for Women (“CIW”). CDCR provided OFFICER MERRILL with an
27     official badge and identification cards which designated and described OFFICER
28     MERRILL as an agent and employee of CDCR and CIW.
                                                 10
                        JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 11 of 23 Page ID #:11




 1           45.    During all times mentioned herein, OFFICER MERRILL acted under
 2     color and pretense of law, and under color of the statutes, ordinances, regulations,
 3     policies, practices, customs, and usages of the CDCR, and in so doing, deprived
 4     JANE DOE 2 and JANE DOE 3 of the rights, privileges, and immunities secured
 5     to them by the Eighth Amendment to the United States Constitution and the laws
 6     of the United States.
 7           46.    During all times mentioned herein, OFFICER MERRILL was acting
 8     in the course and scope of his employment with CDCR and/or CIW.
 9           47.    During all times mentioned herein, OFFICER MERRILL’s conduct
10     toward JANE DOE 2 and JANE DOE 3 was cruel, unusual, malicious, sadistic,
11     offensive to human dignity, sexually abusive, sexually harassing, without
12     penological justification and for his own gratification, thereby depriving JANE
13     DOE 2 and JANE DOE 3 of the rights, privileges, and immunities secured to them
14     by the Eighth Amendment to the United States Constitution and the laws of the
15     United States.
16           48.    OFFICER MERRILL, sexually assaulted, battered, abused, harassed,
17     and injured JANE DOE 2 and JANE DOE 3, as previously described, all of which
18     constituted unjustifiable, unreasonable, and unlawful acts of sexual misconduct in
19     violation of and with deliberate indifference to JANE DOE 2 and JANE DOE 3’S
20     constitutional rights to be free from cruel and unusual punishment.
21           49.    The above acts and omissions of the Defendants, and each of them,
22     was undertaken while under color of state law and resulted in the violation of JANE
23     DOE 2 and JANE DOE 3’s constitutional rights, as stated herein.
24           50.    JANE DOE 2 and JANE DOE 3 had the right to be free from unlawful
25     cruel and unusual punishment, unlawful use of force and unlawful sexual assault,
26     battery, abuse and/or harassment. All of these rights and privileges are secured to
27     JANE DOE 2 and JANE DOE 3 by the provisions of the Eighth Amendment to the
28     United States Constitution, and by 42 U.S.C. § 1983. All of these interests were
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                        JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 12 of 23 Page ID #:12




 1     implicated by the wrongful conduct of the OFFICER MERRILL which
 2     proximately caused severe injuries to JANE DOE 2 and JANE DOE 3, as described
 3     herein.
 4           51.    The individual defendants named herein, separately and in concert,
 5     acted willfully, knowingly, with reckless disregard and deliberate indifference to
 6     the known consequences of their acts and omissions, and purposefully with the
 7     intent to deprive JANE DOE 2 and JANE DOE 3 of their federally protected rights
 8     and privileges, and did in fact violate those rights and privileges, entitling JANE
 9     DOE 2 and JANE DOE 3 to punitive and exemplary damages in an amount to be
10     proven at the trial of this matter.
11           52.    As a direct and proximate result of the aforementioned constitutional
12     violations, JANE DOE 2 was sexually assaulted, battered, abused and harassed and
13     has suffered, and continues to suffer, great mental and physical pain, suffering,
14     anguish, fright, nervousness, anxiety, grief, shock, humiliation, indignity,
15     embarrassment, anger, lack of motivation, rage, self-degradation, shame, disgust,
16     isolation, trouble sleeping, fear at night, panic at night and/or when the light is
17     flashed on her and/or when cell doors open or close ,and apprehension, all to her
18     damage in a sum to be determined at trial.
19           53.    As a direct and proximate result of the aforementioned constitutional
20     violations, JANE DOE 3 has suffered, and continues to suffer, great mental and
21     physical pain, suffering, anguish, fright, nervousness, anxiety, grief, shock,
22     humiliation, indignity, embarrassment, anger, lack of motivation, rage, self-
23     degradation, shame, disgust, inability to articulate feelings, trouble sleeping, fear
24     at night, desire to hide at night, feelings of disgust toward men, extreme sadness,
25     mixed anxiety and depressive disorder, and apprehension, all to her damage in a
26     sum to be determined at trial.
27           54.    Additionally, as a proximate cause of the sexual assault, battery abuse
28     and harassment by OFFICER MERRILL, JANE DOE 2 and JANE DOE 3 have
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                        JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 13 of 23 Page ID #:13




 1     treated and will continue to treat with mental health providers in an amount to be
 2     proven at trial.
 3            55.    JANE DOE 2 and JANE DOE 3 have been forced to incur substantial
 4     amounts for attorneys’ fees, investigation expenses, and other expenses in the
 5     prosecution of the above articulated constitutional violations. JANE DOE 2 and
 6     JANE DOE 3 are entitled to, and hereby demand, costs, attorneys’ fees, and
 7     expenses pursuant to 42 U.S.C. § 1988.
 8                          FOR THE SECOND CAUSE OF ACTION
 9                    (By PLAINTIFFS JANE DOE 2 and JANE DOE 3
10           Against DEFENDANTS, OFFICER J. SPINNEY and DOES 2-10,
11                        For Violations of Civil Rights [42 U.S.C. § 1983])
12                                (Based on Supervisory Liability)
13            56.    Plaintiffs JANE DOE 2 and JANE DOE 3 hereby restate and
14     incorporate by reference the foregoing paragraphs of this complaint as if set forth
15     in full at this point and each and every part thereof with the same force and effect
16     as though set out at length herein.
17            57.    This cause of action is to redress the deprivation, under color of
18     statute, ordinance, regulation, policy, custom, practice or usage of rights,
19     privileges, and immunities secured to JANE DOE 2 and JANE DOE 3 by the
20     Eighth Amendment to the United States Constitution.
21            58.    Plaintiffs are informed and believe that at all times relevant herein,
22     Defendants OFFICER SPINNEY and DOES 2-10 were employed by CDCR in
23     supervisory roles and stationed at CIW during the time periods alleged herein.
24            59.    Plaintiffs are informed and believe that at all times relevant herein,
25     that in their supervisory roles, Defendants OFFICER SPINNEY and DOES 2-10
26     were responsible for the supervision of subordinate correctional officers at CIW
27     including, but not limited to, Defendant, OFFICER MERRILL.
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                          JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 14 of 23 Page ID #:14




 1           60.    During all times mentioned herein, Defendants OFFICER SPINNEY
 2     and DOES 2-10 acted under color and pretense of state law, and under color of the
 3     statutes, ordinances, regulations, policies, practices, customs, and usages of the
 4     CDCR.
 5           61.    During all times mentioned herein, the acts and/or failures to act of
 6     OFFICE MERRILL, Defendants OFFICER SPINNEY and DOES 2-10’s
 7     subordinate, deprived JANE DOE 2 and JANE DOE 3 of the rights, privileges, and
 8     immunities secured to them by the Eighth Amendment to the United States
 9     Constitution and the laws of the United States.
10           62.    In willfully committing the acts of sexual misconduct as described in
11     the foregoing paragraphs of this Complaint, OFFICER MERRILL, deprived JANE
12     DOE 2 and JANE DOE 3 of the rights, privileges, and immunities secured to them
13     by the Eighth Amendment to the United States Constitution and the laws of the
14     United States.
15           63.    Defendants OFFICER SPINNEY and DOES 2-10 are responsible
16     under a theory of supervisory liability for the act and omissions of Defendant
17     OFFICER MERRILL as alleged herein based on the following:
18                  a.      Defendants OFFICER SPINNEY and DOES 2-10 set in motion
19     a series of acts by OFFICER MERRILL that they knew or reasonably should have
20     known would cause OFFICER MERRILL to deprive JANE DOE 2 and JANE DOE
21     3 of their constitutional rights as set forth herein. Specifically, as alleged above,
22     Defendants OFFICER SPINNEY and DOES 2-10 set in motion a scheme to
23     “catch” OFFICER MERRILL in the act of violating Plaintiffs’ constitutional rights
24     by using Plaintiffs as bait; and/or
25                  b.      Defendants OFFICER SPINNEY and DOES 2-10 knowingly
26     refused to terminate a series of acts by OFFICER MERRILL that they knew or
27     reasonably should have known would cause OFFICER MERRILL to deprive
28     JANE DOE 2 and JANE DOE 3 of their constitutional rights as set forth herein.
                                                  14
                         JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 15 of 23 Page ID #:15




 1     Specifically, as alleged above, Defendants OFFICER SPINNEY and DOES 2-10
 2     failed to intervene in OFFICER MERRILL’S sexual assault, battery, abuse and
 3     harassment of JANE DOE 2 and JANE DOE 3 even though Defendants OFFICER
 4     SPINNEY and DOES 2-10 knew these events were happening at the time they
 5     occurred and hence knew that OFFICER MERRILL was violating Plaintiffs’
 6     constitutional rights; and/or
 7                  c.      Defendants OFFICER SPINNEY and DOES 2-10 knew that
 8     OFFICER MERRILL was engaging in sexual assault, battery, abuse and
 9     harassment of JANE DOE 2 and JANE DOE 3 in violation of their constitutional
10     rights as set forth herein and failed to act to prevent OFFICER MERRILL’S sexual
11     assault, battery, abuse and harassment of JANE DOE 2 and JANE DOE 3 even
12     though Defendants OFFICER SPINNEY and DOES 2-10 knew these events were
13     happening at the time they occurred and hence knew that OFFICER MERRILL
14     was violating Plaintiffs’ constitutional rights; and/or
15                  d.      Defendants OFFICER SPINNEY and DOES 2-10 showed a
16     reckless or callous indifference to the depravation of the rights of JANE DOE 2
17     and JANE DOE 3 by OFFICER MERRILL.
18           64.    The conduct alleged herein by Defendants OFFICER SPINNEY and
19     DOES 2-10 was so closely related to the depravation of the rights of JANE DOE 2
20     and JANE DOE 3 by OFFICER MERRILL as to be the moving force that caused
21     the ultimate injury to Plaintiffs.
22           65.    The individual defendants named herein, separately and in concert,
23     acted willfully, knowingly, with reckless disregard and deliberate indifference to
24     the known consequences of their acts and omissions, and purposefully with the
25     intent to deprive JANE DOE 2 and JANE DOE 3 of their federally protected rights
26     and privileges, and did in fact violate those rights and privileges, entitling JANE
27     DOE 2 and JANE DOE 3 to punitive and exemplary damages in an amount to be
28     proven at the trial of this matter.
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                         JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 16 of 23 Page ID #:16




 1           66.    As a direct and proximate result of the aforementioned constitutional
 2     violations, JANE DOE 2 was sexually assaulted, battered, abused and harassed and
 3     has suffered, and continues to suffer, great mental and physical pain, suffering,
 4     anguish, fright, nervousness, anxiety, grief, shock, humiliation, indignity,
 5     embarrassment, anger, lack of motivation, rage, self-degradation, shame, disgust,
 6     isolation, trouble sleeping, fear at night, panic at night and/or when the light is
 7     flashed on her and/or when cell doors open or close ,and apprehension, all to her
 8     damage in a sum to be determined at trial.
 9           67.    As a direct and proximate result of the aforementioned constitutional
10     violations, JANE DOE 3 has suffered, and continues to suffer, great mental and
11     physical pain, suffering, anguish, fright, nervousness, anxiety, grief, shock,
12     humiliation, indignity, embarrassment, anger, lack of motivation, rage, self-
13     degradation, shame, disgust, inability to articulate feelings, trouble sleeping, fear
14     at night, desire to hide at night, feelings of disgust toward men, extreme sadness,
15     mixed anxiety and depressive disorder, and apprehension, all to her damage in a
16     sum to be determined at trial.
17           68.    Additionally, as a proximate cause of aforementioned acts and
18     omissions, JANE DOE 2 and JANE DOE 3 have treated and will continue to treat
19     with mental health providers in an amount to be proven at trial.
20           69.    JANE DOE 2 and JANE DOE 3 have been forced to incur substantial
21     amounts for attorneys’ fees, investigation expenses, and other expenses in the
22     prosecution of the above articulated constitutional violations. JANE DOE 2 and
23     JANE DOE 3 are entitled to, and hereby demand, costs, attorneys’ fees, and
24     expenses pursuant to 42 U.S.C. § 1988.
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26     ///
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 17 of 23 Page ID #:17




 1                        FOR THE THIRD CAUSE OF ACTION
 2                   (By PLAINTIFFS JANE DOE 2 and JANE DOE 3
 3           Against DEFENDANTS, OFFICER J. SPINNEY and DOES 2-10,
 4                    For Violations of Civil Rights [42 U.S.C. § 1983])
 5                          (Based on Conditions of Confinement)
 6           70.    Plaintiffs JANE DOE 2 and JANE DOE 3 hereby restate and
 7     incorporate by reference the foregoing paragraphs of this complaint as if set forth
 8     in full at this point and each and every part thereof with the same force and effect
 9     as though set out at length herein.
10           71.    This cause of action is to redress the deprivation, under color of
11     statute, ordinance, regulation, policy, custom, practice or usage of rights,
12     privileges, and immunities secured to JANE DOE 2 and JANE DOE 3 by the
13     Eighth Amendment to the United States Constitution.
14           72.    Plaintiffs are informed and believe that at all times relevant herein,
15     Defendants OFFICER SPINNEY and DOES 2-10 were employed by CDCR in
16     supervisory roles and stationed at CIW during the time periods alleged herein.
17           73.    Plaintiffs are informed and believe that at all times relevant herein,
18     that in their supervisory roles, Defendants OFFICER SPINNEY and DOES 2-10
19     were responsible for the supervision of subordinate correctional officers at CIW
20     including, but not limited to, Defendant, OFFICER MERRILL.
21           74.    During all times mentioned herein, Defendants OFFICER SPINNEY
22     and DOES 2-10 acted under color and pretense of state law, and under color of the
23     statutes, ordinances, regulations, policies, practices, customs, and usages of the
24     CDCR.
25           75.    As set forth previously herein, OFFICE MERRILL sexually assaulted,
26     battered, abused and harassed Plaintiffs JANE DOE 2 and JANE DOE 3 thereby
27     depriving them of the rights, privileges, and immunities secured to them by the
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 18 of 23 Page ID #:18




 1     Eighth Amendment to the United States Constitution and the laws of the United
 2     States.
 3           76.    Once JANE DOE 2 reported OFFICER MERRILL’S sexual
 4     misconduct in or around October 2017, Defendants OFFICER SPINNEY and
 5     DOES 2-10 knew that Plaintiffs and other women incarcerated at CIW faced a
 6     substantial risk of serious harm from him.
 7           77.    Defendants OFFICER SPINNEY and DOES 2-10 were deliberately
 8     indifferent to the risks of serious harm posed by OFFICER MERRILL, that is,
 9     Defendants OFFICER SPINNEY and DOES 2-10 knew of the risks of serious harm
10     posed by OFFICER MERRILL and disregarded them by failing to take reasonable
11     measures to address such risks, to wit, using JANE DOE 2 and JANE DOE 3 as
12     bait for OFFICER MERRILL, failing to remove OFFICER MERRILL when he
13     sexually harassed JANE DOE 2 and JANE DOE 3, failing to intervene when JANE
14     DOE 2 said the ‘safe’ phrase: ‘can we get some pizza’; failing to intervene when
15     OFFICER MERRILL sexually assaulted JANE DOE 3, and failing to intervene
16     when OFFICER MERRILL sexually assaulted JANE DOE 2.
17           78.    In willfully committing the aforementioned acts and omissions,
18     Defendants OFFICER SPINNEY and DOES 2-10, deprived JANE DOE 2 and
19     JANE DOE 3 of the rights, privileges, and immunities secured to them by the
20     Eighth Amendment to the United States Constitution and the laws of the United
21     States.
22           79.    The individual defendants named herein, separately and in concert,
23     acted willfully, knowingly, with reckless disregard and deliberate indifference to
24     the known consequences of their acts and omissions, and purposefully with the
25     intent to deprive JANE DOE 2 and JANE DOE 3 of their federally protected rights
26     and privileges, and did in fact violate those rights and privileges, entitling JANE
27     DOE 2 and JANE DOE 3 to punitive and exemplary damages in an amount to be
28     proven at the trial of this matter.
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                        JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 19 of 23 Page ID #:19




 1           80.    As a direct and proximate result of the aforementioned constitutional
 2     violations, JANE DOE 2 was sexually assaulted, battered, abused and harassed and
 3     has suffered, and continues to suffer, great mental and physical pain, suffering,
 4     anguish, fright, nervousness, anxiety, grief, shock, humiliation, indignity,
 5     embarrassment, anger, lack of motivation, rage, self-degradation, shame, disgust,
 6     isolation, trouble sleeping, fear at night, panic at night and/or when the light is
 7     flashed on her and/or when cell doors open or close ,and apprehension, all to her
 8     damage in a sum to be determined at trial.
 9           81.    As a direct and proximate result of the aforementioned constitutional
10     violations, JANE DOE 3 has suffered, and continues to suffer, great mental and
11     physical pain, suffering, anguish, fright, nervousness, anxiety, grief, shock,
12     humiliation, indignity, embarrassment, anger, lack of motivation, rage, self-
13     degradation, shame, disgust, inability to articulate feelings, trouble sleeping, fear
14     at night, desire to hide at night, feelings of disgust toward men, extreme sadness,
15     mixed anxiety and depressive disorder, and apprehension, all to her damage in a
16     sum to be determined at trial.
17           82.    Additionally, as a proximate cause of aforementioned acts and
18     omissions, JANE DOE 2 and JANE DOE 3 have treated and will continue to treat
19     with mental health providers in an amount to be proven at trial.
20           83.    JANE DOE 2 and JANE DOE 3 have been forced to incur substantial
21     amounts for attorneys’ fees, investigation expenses, and other expenses in the
22     prosecution of the above articulated constitutional violations. JANE DOE 2 and
23     JANE DOE 3 are entitled to, and hereby demand, costs, attorneys’ fees, and
24     expenses pursuant to 42 U.S.C. § 1988.
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26     ///
27     ///
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 20 of 23 Page ID #:20




 1                       FOR THE FOURTH CAUSE OF ACTION
 2                   (By PLAINTIFFS JANE DOE 2 and JANE DOE 3
 3           Against DEFENDANTS, OFFICER J. SPINNEY and DOES 2-10,
 4                    For Violations of Civil Rights [42 U.S.C. § 1983])
 5                               (Based on Failure to Protect)
 6           84.    Plaintiffs JANE DOE 2 and JANE DOE 3 hereby restate and
 7     incorporate by reference the foregoing paragraphs of this complaint as if set forth
 8     in full at this point and each and every part thereof with the same force and effect
 9     as though set out at length herein.
10           85.    This cause of action is to redress the deprivation, under color of
11     statute, ordinance, regulation, policy, custom, practice or usage of rights,
12     privileges, and immunities secured to JANE DOE 2 and JANE DOE 3 by the
13     Eighth Amendment to the United States Constitution.
14           86.    Plaintiffs are informed and believe that at all times relevant herein,
15     Defendants OFFICER SPINNEY and DOES 2-10 were employed by CDCR in
16     supervisory roles and stationed at CIW during the time periods alleged herein.
17           87.    Plaintiffs are informed and believe that at all times relevant herein,
18     that in their supervisory roles, Defendants OFFICER SPINNEY and DOES 2-10
19     were responsible for the supervision of subordinate correctional officers at CIW
20     including, but not limited to, Defendant, OFFICER MERRILL.
21           88.    During all times mentioned herein, Defendants OFFICER SPINNEY
22     and DOES 2-10 acted under color and pretense of state law, and under color of the
23     statutes, ordinances, regulations, policies, practices, customs, and usages of the
24     CDCR.
25           89.    As set forth previously herein, OFFICE MERRILL sexually assaulted,
26     battered, abused and harassed Plaintiffs JANE DOE 2 and JANE DOE 3 thereby
27     depriving them of the rights, privileges, and immunities secured to them by the
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 21 of 23 Page ID #:21




 1     Eighth Amendment to the United States Constitution and the laws of the United
 2     States.
 3           90.    On or before the date that JANE DOE 2 reported OFFICER
 4     MERRILL’S sexual misconduct in or around October 2017, Defendants OFFICER
 5     SPINNEY and DOES 2-10 knew that Plaintiffs and other women incarcerated at
 6     CIW faced a substantial risk of serious harm from him.
 7           91.    Defendants OFFICER SPINNEY and DOES 2-10 made an intentional
 8     decision with respect to the conditions of Plaintiffs’ confinement by using them as
 9     bait for OFFICER MERRILL whom they knew posed a risk of serious harm to
10     Plaintiffs. Indeed, Defendants OFFICER SPINNEY and DOES 2-10 used JANE
11     DOE 2 and JANE DOE 3 as bait for OFFICER MERRILL, failed to remove
12     OFFICER MERRILL when he sexually harassed JANE DOE 2 and JANE DOE 3,
13     failed to intervene when JANE DOE 2 said the ‘safe’ phrase: ‘can we get some
14     pizza’; failed to intervene when OFFICER MERRILL sexually assaulted JANE
15     DOE 3, and failed to intervene when OFFICER MERRILL sexually assaulted
16     JANE DOE 2.
17           92.    The aforementioned conduct by Defendants OFFICER SPINNEY and
18     DOES 2-10 put the plaintiffs herein at a substantial risk of suffering serious harm.
19           93.    Defendants OFFICER SPINNEY and DOES 2-10 did not take
20     reasonable measures to abate the risks posed by OFFICER MERRILL to plaintiffs,
21     even though a reasonable officer in those circumstances would have appreciated
22     the high degree of risk involved – making the consequences of Defendants
23     OFFICER SPINNEY’s, and DOES 2-10’s, conduct obvious.
24           94.    In willfully committing the aforementioned acts and omissions,
25     Defendants OFFICER SPINNEY and DOES 2-10, deprived JANE DOE 2 and
26     JANE DOE 3 of the rights, privileges, and immunities secured to them by the
27     Eighth Amendment to the United States Constitution and the laws of the United
28     States.
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                       JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 22 of 23 Page ID #:22




 1           95.    The individual defendants named herein, separately and in concert,
 2     acted willfully, knowingly, with reckless disregard and deliberate indifference to
 3     the known consequences of their acts and omissions, and purposefully with the
 4     intent to deprive JANE DOE 2 and JANE DOE 3 of their federally protected rights
 5     and privileges, and did in fact violate those rights and privileges, entitling JANE
 6     DOE 2 and JANE DOE 3 to punitive and exemplary damages in an amount to be
 7     proven at the trial of this matter.
 8           96.    As a direct and proximate result of the aforementioned constitutional
 9     violations, JANE DOE 2 was sexually assaulted, battered, abused and harassed and
10     has suffered, and continues to suffer, great mental and physical pain, suffering,
11     anguish, fright, nervousness, anxiety, grief, shock, humiliation, indignity,
12     embarrassment, anger, lack of motivation, rage, self-degradation, shame, disgust,
13     isolation, trouble sleeping, fear at night, panic at night and/or when the light is
14     flashed on her and/or when cell doors open or close ,and apprehension, all to her
15     damage in a sum to be determined at trial.
16           97.    As a direct and proximate result of the aforementioned constitutional
17     violations, JANE DOE 3 has suffered, and continues to suffer, great mental and
18     physical pain, suffering, anguish, fright, nervousness, anxiety, grief, shock,
19     humiliation, indignity, embarrassment, anger, lack of motivation, rage, self-
20     degradation, shame, disgust, inability to articulate feelings, trouble sleeping, fear
21     at night, desire to hide at night, feelings of disgust toward men, extreme sadness,
22     mixed anxiety and depressive disorder, and apprehension, all to her damage in a
23     sum to be determined at trial.
24           98.    Additionally, as a proximate cause of aforementioned acts and
25     omissions, JANE DOE 2 and JANE DOE 3 have treated and will continue to treat
26     with mental health providers in an amount to be proven at trial.
27           99.    JANE DOE 2 and JANE DOE 3 have been forced to incur substantial
28     amounts for attorneys’ fees, investigation expenses, and other expenses in the
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                        JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
     Case 5:19-cv-00612-DMG-RAO Document 1 Filed 04/05/19 Page 23 of 23 Page ID #:23




 1     prosecution of the above articulated constitutional violations. JANE DOE 2 and
 2     JANE DOE 3 are entitled to, and hereby demand, costs, attorneys’ fees, and
 3     expenses pursuant to 42 U.S.C. § 1988.
 4                                        JURY DEMAND
 5           100.    PLAINTIFFS, JANE DOE 2 and JANE DOE 3, hereby demand that
 6     a jury be empaneled for the trial of this matter.
 7                                               PRAYER
 8           WHEREFORE, PLAINTIFFS JANE DOE 2 and JANE DOE 3 pray for
 9     judgment against Defendants as follows:
10                  1.      For general damages in an amount to be determined according
11                          to proof at trial;
12                  3.      For medical and related expenses according to proof at trial;
13                  4.      For costs of suit incurred herein;
14                  5.      For punitive damages against the individual Defendants in an
15                          amount to be determined according to proof at trial;
16                  6.      For attorneys’ fees and expert witness fees incurred herein;
17                  7.      For statutory damages as permitted by law; and
18                  8.      For such other and further relief as the Court deems just and
19                          proper.
20

21     DATED: April 5, 2019                       Respectfully submitted,
22                                                SOCAL JUSTICE LAW GROUP
23
                                          By: __/s/ Jennifer A. Bandlow____________
24
                                                JENNIFER A. BANDLOW, Esq.
25                                              Attorneys for PLAINTIFF
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                         JANE DOE 2 AND JANE DOE 3’S COMPLAINT FOR DAMAGES
